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                                    No. 18-3206

                    UNITED STATES COURT OF APPEALS
                       FOR THE SEVENTH CIRCUIT



    Edith McCurry
    Plaintiff-Appellant,

    v.


    Kenco et.al
    Defendant-Appellee.



                   PLAINTIFF-APPELLANT REPLY BRIEF
              IN SUPPORT OF APPEAL FROM THE DISMISSAL
         OF THE CIVIL ACTION 16-CV-2273 BY THE DISTRICT COURT



                            Case No. 16-CV-2273


                           The Honorable Judge Eric Long

                                            and

                                Judge Bruce Sterling

                                     Presiding




                                     Edith McCurry


                                      /s/

                                      Jordan TraVaille Hoffman, P.C.

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                                Argument



     On a motion for summary judgment, (hereafter “MSJ”) the entire

record is considered with all reasonable inferences drawn in favor of the

nonmovant and all factual disputes resolved in favor of the

nonmovant. Crawford V. Metro Gov’t of Nashville and Davidson County,

Tennessee, 555 U.S. 271, 274 n.129 S. Ct. 846, 172 L.Ed. 2d 650

(2009); Malen v. MTD Prods., Inc., 628 F.3d 296, 303 (7th Cir.

2010); Stokes v. Board of Educ. of the City of Chicago, 599 F.3d 617, 619

(7th Cir. 2010).

     The party moving for summary judgment carries the initial burden

of production to identify "those portions of the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the

affidavits, if any, which it believes demonstrate the absence of a genuine

issue of material fact." Logan v. Commercial Union Ins. Co., 96 F.3d 971,

978 (7th Cir.1996) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106

S. Ct. 2548, 91 L. Ed. 2d 265 (1986). Specifically, the moving party may

discharge this burden by “’showing’---that is, pointing out to the district

court---that there is an absence to support the nonmoving party’s case.”

Celotex 477 U.S. at 325.

     Defendants did not discharge themselves of the initial burden it

bore to identify the basis for seeking summary judgment against Plaintiff.

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Costello v. Grundon, 651 F.3d 614, 635 (7th Cir. 2011); Logan at 979.

Essentially, the burden of establishing a lack of any genuine issue of

material fact rests on the movant. Ponsetti v. GE Pension Plan, 614 F.3d

684, 691 (7th Cir. 2010); Outlaw v. Newkirk, 259 F.3d 833 (7th Cir.

2001); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256, 106 S.Ct. 2505,

91 L. Ed. 2d 202 (1986).

      More precisely, the movants in their MSJ did not articulate with

references to the record and to the law specific reasons why it believes

there is no genuine issue of material fact for each named defendant as it

relates to the specific allegations asserted in Plaintiff’s complaint.

      Spuriously, the movants continue in their Appellee Brief(s) to make

numerous conclusory statements and mount affirmative defenses devoid

of supporting documentation or references to the record to fully

discharge themselves individually and collectively of their burden related

to the allegations asserted by Plaintiff.

      Defendants fail to adequately address in their Appellee Brief issues

raised surrounding Plaintiff's assertions that making application for

promotion was not a requisite to being promoted and that defendants did

not follow its own policy relative to promotion.

      a.    Defendants did not address Tony Willis' declaration indicating

      that he did not apply for the position that he was most recently

      promoted to (Docket #120).


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     b.     Defendants stated to the Illinois Department of Human Rights

     (hereafter “IDHR”) and the Equal Employment Opportunity

     Commission (hereafter “EEOC”) in an email that Tony Willis did not

     make an application for a position to which he had been previously

     promoted (Opening Brief Separate Appendix hereafter “SA”-pg. 70

     ¶3).

     c.     Defendants did not address that they knowingly promoted

     other employees, such as Tony Willis and Melissa Hansen, who had

     not made an application for their respective positions (SA-pg. 103).

     d.     Defendants did not address the issue that it failed to post the

     position making it impossible for McCurry to apply for that

     position. According, to Defendant Kenco’s Exempt Hiring Policy,

     McCurry would have been the person to post the advertised

     position (SA-pg. 58 ¶7 (b)). McCurry did not post the position.

     e.     Defendants did not address the issue that it failed to provide

      its policy relative to promotion.

     McCurry “specifically refutes facts which allegedly support the

employer's claim” Sirvidas v. Commonwealth Edison Co., 60 F.3d 375,

378 (7th Cir.1995). Additionally, defendants’ failure to follow [their] own

policies also gives rise to pretext. Rudin v. Lincoln Land Community

College, 420 F.3d 712 (7th Cir. 2005) at 727.




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      Defendants failed to adequately address the issues raised

surrounding the deficiencies of the affidavits of Jay Elliott and Todd

Moore (Docket #s 120-1 & 120-4).

      a.    Defendants did not address the issue of the affiants’ lack of

            personal knowledge relative to Plaintiffs allegations about the

            actual events as they occurred at the Mars Manteno facility.

      b.    Todd Moore references documents in his affidavit that were

            not produced that should have been in defendants Kenco and

            Mars’ possession which could have been easily authenticated

            by being classified as business records of defendants.

"[H]earsay is inadmissible in summary judgment proceedings to the same

extent that it is inadmissible in a trial." Eisenstadt v. Centel Corp., 113

F.3d 738, 742 (7th Cir.1997). There is "no exception to the ban on

hearsay … and so the court will disregard it." Bombard v. Fort Wayne

Newspapers, Inc., 92 F.3d 560, 562 (7th Cir. 1996).

      Defendants failed to adequately address the issues raised

surrounding the non-effectuated and non-existent policies used to write-

up Plaintiff on December 17, 2014, viz:

      a.    Policy STD HR 1007 that was not effective until a week after

            the date of Plaintiff's alleged infraction.

      b.    Policy STH HR 1003 that was non-existent and that was not

      attached defendant’s MSJ and was not produced by Defendants.


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       c.   Defendants Kenco or Varvel failed to address that Varvel

       had indicated three (3) weeks after the alleged incident with

       Plaintiff that there were no guidelines relative to unauthorized

       work (SA-141).

       d.   Defendant Kenco did not produce a signature log relative to

       its QMS Documentation policy that ensures that each employee is

       trained on the policies relative to the employee’s employment

       (Docket #83-27).

       e.   Defendant failed to address Plaintiff's assertion that the write-

       up was pretextual.

       McCurry raised genuine issues of fact when she identified the

inconsistencies in her employer’s explanation for the adverse action that

it took in disciplining McCurry for a mispunched slip (Docket #117 pages

11, 17-23 & 28) Boumehdi v. Plastag Holdings, LLC, 489 F.3d 781 (7th

Cir. 2007); Gordon v. United Airlines, Inc., 246 F.3d 878 (7th Cir. 2001) at

889.

       Particularly since Plaintiff had been working for defendants for so

many years without incident, Defendants' abrupt and cryptic adverse

employment decision supports the drawing of an inference that

Defendants were motivated by some impermissible reason. Valentino v.

Village of South Chicago Heights, 575 F.3d 664, 673-74 (7th Cir.2009).




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Defendants failed to adequately address the issues raised surrounding

the hiring of Lori Varvel and the various and often contradictory reasons

it offered for hiring Varvel; viz:

      a.    How Varvel was more qualified that Plaintiff.

            i.     Varvel being classified by Defendants as an HR

                   Generalist (Docket #83-20 page 3).

            ii.    Defendant had other Generalists (Docket #83-11

            page 9).

            iii.   HR Generalist are not HR Managers.

      b.    Varvel having allegedly supervised people, when Varvel stated

      that she had only supervised one (1) person previously (Docket

      #117-19 & #113-3 pg.72).

      c.    That Varvel did not supervise Valerie Lillie as alleged (Docket

      119-5).

      d.    That Varvel could not have supervised Lillie, as Lillie was a

      subject matter expert relative to the Food Safety and Modernization

      Act “herein" FSMA (Docket #83-14 pg.15 §5.5).

      e.    That Varvel would not be able to legitimately supervise

      Plaintiff after Defendants had taken away Plaintiff's HR duties, as

      Varvel had no accounting experience.

      f.    That Plaintiff had more HR experience than Varvel.

      g.    That Plaintiff had supervisory experience.


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     h.    That according to Jay Elliott, V.P. of Legal, Varvel was hired

     because of all of the discrimination charges filed against the

     defendants (SA-pg. 143 §4¶2).

     i.    That according to Tammi Fowler and others, Varvel was hired

     because a person was needed with more HR experience.

     j.    That McCurry and Szplett's both had more HR experience

     than Varvel (Docket #119-declarations of Szplett & #119-9

     McCurry).

     k.    That McCurry and Szplett's had never been issued poor

     performance reviews.

     l.    That McCurry and Szplett's were meeting the expectations of

     Defendants Kenco and Mars at the time that Varvel was hired.

     m.    That the HR position was not a newly created position, as

     Defendants had cited in its MSJ that Szplett's was the HR Manager

     (Docket 113 pg. 7 ¶A).

     n.    That Defendants have stated conflicting reasons why Varvel

     was hired.

     o.    That Mars agreed to underwrite the cost of hiring an HR

     Manager (Docket #120-6).

     Plaintiff contends that these inconsistent reason(s) for hiring Varvel

were pretextual; Patterson v. McLean Credit Union, 491 U.S. 164, 187-88,

109 S.Ct. 2363, 105 L.Ed.2d 132 (1989). Plaintiff's discrediting of


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employer's explanation is entitled to considerable weight, such that

Plaintiff should not be routinely required to submit evidence over and

above proof of pretext. Reeves v. Sanderson Plumbing Prods., Inc., 530

U.S. 133, 140, 143, 120 S.Ct. 2097, 147 L.Ed.2d 105 (2000).

     Defendants failed to adequately address the issues of pretext that

Plaintiff raised and established relative to the adverse employment

decisions imposed upon Plaintiff. ABDEL-GHAFFAR v. ILLINOIS TOOL

WORKS, INC., No. 12 C 5812 (N.D. Ill. Sept. 30, 2015); Collier v. Budd

Co., 66 F.3d 886, 892 (7th Cir.1995), to wit:

     a.    Plaintiff's reduction in duties.

     b.    Plaintiff's write-up.

           i.     Defendants failed to address the issue of how the

           write-up was not adverse to Plaintiff being able to be

           promoted.

           ii.    Defendants failed to address that a write-up is the basis

           of the Defendants’ progressive disciplinary action that leads

           to termination of an employee.

           iii.   Defendants failed to address that a write-up precludes

           an employee from promotional opportunities.

     c.    Plaintiff being harassed.

     d.    Plaintiff being retaliated against.




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     e.    Plaintiff's change in terms and conditions of her

           employment.

     f.    Plaintiff's change in her fringe benefits and privileges.



     "Where an employer's reason for an adverse employment action is

without factual basis ..., that is evidence that an employer might be lying

about its true motivation," Hobgood v. Illinois Gaming Board, 731 F.3d

635, 646 (7th Cir.2013). And, "[W]hen the sincerity of an employer's

asserted reasons for an adverse employment decision is cast into doubt,

a fact finder may reasonably infer that unlawful discrimination was the

true motivation...."Gordon at 889.

     Defendants failed to adequately address the issues raised

surrounding the Plaintiffs disparate and unequal pay, to wit:

     a.    Szplett's and McCurry's affidavits relative to Plaintiff's job

     duties and functions relative to Szplett (Docket #119).

     b.    Defendants failure to produce Szplett's and McCurry's signed

     job descriptions to support its contention that Szplett's had more

     responsibility than McCurry.

     c.    That Varvel was paid more money than McCurry for

     performing less work.

     It has been routinely found that a nonmoving party's own affidavit

can constitute affirmative evidence to defeat a summary judgment


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motion, even if it includes only bare denials. Wohl v. Spectrum MFG.,

Inc., 94 F.3d at 358; Courtney v. Biosound, Inc., 42 F.3d 414, 418 (7th

Cir. 1994); Jackson v. Duckworth, 955 F.2d 21 (7th Cir. 1992) at 22;

Wilson v. Williams, 997 F.2d 348, 351 (7th Cir. 1993); Sarsha v. Sears

Roebuck & Co., 3 F.3d 1035 (7th Cir.1993) at 1041.

      Defendants failed to adequately address the issues raised relative

to Plaintiff's allegations of retaliation as Defendants made conclusory

statements in their summary judgment that Plaintiff was not retaliated

against because Plaintiff did not engage in protected activity (Docket

#113 page 11 & 12 §D¶3).

      Defendants fail to discharge themselves of this burden by not citing

specific facts or pointing to the Plaintiff's initial complaint (Docket#1)

which identifies in great detail a number of protected activities. Nor does

Defendant cite any authority that refutes participating in a

discrimination proceeding as not being engaged in protected activity.

      For example, Plaintiff contends that after an IDHR/EEOC

proceeding for Mary Madison, a former employee, McCurry's job title and

reporting structure were ordered to be changed by Kelvin Walsh by

Valerie Lillie. Walsh ordered Lillie to change McCurry's title from HR

Administrator to HR Clerk requiring McCurry to report directly to him.

Lillie could not justify this change under the mandated standards of the

21 CFR Chapter I Subchapter B part 117 Subpart G, 21 CFR Chapter I


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Subchapter B part 121 and Defendants policy-ISO. BP. 4.2.3.001. Lillie

eventually became cognizant of the discriminatory treatment of McCurry

and obtained written documentation for Varvel affirming that McCurry

was the HR Administrator (Docket #82-14 pg. 2).

       Defendants failed to adequately address the issues raised relative

to discrimination and harassment as Defendants made conclusory

statements in their MSJ that they had policies in place prohibiting

discrimination and harassment (Docket#113, page 5,¶26), but fail to

discharge themselves of their burden of proof by citing specific facts or

pointing to the record instances that support that the Defendants

adhered to and enforced the policies that they state that they had in

place relative to discrimination and harassment. Furthermore,

Defendants have not produced these alleged facially neutral policies that

they refer to for the purposes of summary judgment.

       Defendants are liable for the discriminatory activity that it failed to

stop, as each Defendant had authority over McCurry and others at the

Mars Manteno facility. Faragher v. Boca Raton, 524 U.S. 775, 807, 118

S.Ct. 2275, 141 L.Ed.2d 662; Burlington Industries, Inc. v. Ellerth, 524

U.S. 742, 765, 118 S.Ct. 2257, 141 L.Ed.2d 633 (1998). There is no

affirmative defense for the adverse actions taken against McCurry. Id. at

765.




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     Defendants failed to adequately address issues raised relative to

race and age as Defendants made conclusory statements that they did

not hire Varvel because of race and age (Docket #113 page 11 ¶2), but

fail to discharge themselves of their burden of proof by citing specific

facts or pointing to the record instances that support that Defendants

did not hire Varvel because of race or age. Contrarily, Jay Elliott,

Defendant Kenco's VP of Legal states that Varvel was hired because of all

the charges of discrimination (SA-pg.143 §4¶2).

     Plaintiff asserts that the charges of discrimination filed at the IDHR

and EEOC against Defendants were charges based upon race amongst

other unlawful actions. Additionally, it is not reasonable that more than

twenty (20) employees, who filed over 30 charges; who lived 65 to 100

miles away from Chicago, where the agencies were located, would take off

work and travel that far to file charges, if the situation was not pervasive

and unbearable (SA-pg.145-146). Furthermore, Defendants to date have

not addressed and contradicted Jay Elliott's proffered reason for hiring

Varvel.

     Defendants have created materially disputable facts due to the

conflicting reasons that it offered regarding the hiring of Lori Varvel.

Defendants failed to adequately address the issues raised surrounding

McCurry's allegations about conspiracy by alleging that McCurry did not

adequately plead her claims of conspiracy and that based upon her


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inadequacy of pleading her conspiracy claims should fail (Docket #113

page 14 §f ¶3).

      McCurry contends that she pled her claims of conspiracy in her

complaint in detail. McCurry noted in her response to Defendants MSJ

that she had adequately pled her conspiracy claims as she survived the

12(b)(6) motions to dismiss.

      Specifically, Defendant Kenco’s MSJ addressed issues germane and

specific to Defendant Kenco to which they did not fully discharge

themselves (Docket #113). Even more precisely, Defendants MSJ did

not address the specific allegations alleged against the named

Defendants in this matter.

      Consequently, the remaining Defendants have failed to articulate

with references to the record and to the law, specific reasons why they

individually believe there is no genuine issue of material fact for trial.

      It is well established that "the party opposing summary judgment

has no obligation to address grounds not raised in a motion for summary

judgment. "Sublett v. John Wiley & Sons, Inc., 463 F.3d 731, 736 (7th

Cir.2006); Preddie v. Bartholomew Consol. Sch. Corp., 799 F.3d 806, 820

(7th Cir. 2015); United States v. King-Vassel, 728 F.3d 707, 716 (7th Cir.

2013); Pourghoraishi v. Flying J, Inc., 449 F.3d 751, 765 (7th Cir.2006).




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      Correspondingly, the remaining Defendants did not discharge

themselves of their burden to identify the basis for seeking summary

judgement against Plaintiff. Costello at 635; Logan at 979



      Therefore, defendants’ arguments must fail.



Defendant’s Position Has Been Consistently Inconsistent

      Defendants without fail are consistently, inconsistent in their

positions relative to Leonard Szplett, COBRA, Tammi Fowler and other

matters.

      Most recently Defendants in their Appellee brief have now

suggested that Szplett's was a manager in Human Resources, inferring

that Szplett's was not the HR Manager at the Mars Manteno Facility.

This is deceptive and misleading as Defendants alleged, argued and

litigated the undisputed fact that Szplett's was the HR Manager in its

MSJ against McCurry in the district court, to which Defendants received

a benefit of having McCurry’s case dismissed with prejudice (Docket

#125). Defendants also suggest that they have not been inconsistent in

their positions in their Appellee Brief (pg., 22 ¶1).

      More specifically, Defendants in their MSJ of June 2018 stated that

Leonard Szplett was the HR Manager (Docket #113 pg. 7 ¶A).

Defendants also identified Leonard Szplett being the HR Manager who

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gave McCurry her performance reviews, as an undisputed fact (Docket

#113 pg.3 ¶7).

     Previously in this matter Defendant Kenco stated in their

interrogatories of November 2017 that Szplett was never the HR

Manager (Docket #80-7 page 11 #15).

     Prior to that, Defendants stated in its two (2) summary decision

motions to the Department of Labor in Case No. 2016-FDA-4 in August

of 2017 that Szplett's was the HR Manager.

     Prior to that in August of 2015, Defendant Kenco stated that

Szplett was not the HR Manager and such a position never existed (SA-

pg. 143 §4¶2).

     Prior to that in March of 2015, Defendant Kenco stated that Szplett

was not the HR Manager but the Office Manager in the administrative

proceeding at the IDHR/EEOC of Charge No. 2015CA1804 “hereafter”

2015CA1804.

     Prior to that in November of 2013, Defendants stated to the IDHR,

EEOC and Occupational Health and Safety Administration hereafter

“OSHA” that Szplett was the HR Manager (Dockets #81-11 pg.3 & #81-

12 page).

     Like a chameleon Szplett's job title has changed at the pleasure

and convenience of the Defendants. Sometimes Defendants have used

his status as a sword and at other times as a shield. Defendants’ actions

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concealed the unlawful actions of the Defendants allowing them to

prevail in its litigation.


  [T]ampering with the administration of justice in the manner indisputably
  shown here involves far more than an injury to a single litigant. It is a wrong
  against the institutions set up to protect and safeguard the public, institutions
  in which fraud cannot complacently be tolerated consistently with the good
  order of society. . . . The public welfare demands that the agencies of public
  justice be not so impotent that they must always be mute and helpless victims
  of deception and fraud. Hazel-Atlas Co. v. Hartford Co., 322 U.S. 238, 246,
  64 S. Ct. 997, 88 L. Ed. 1250 (1944).


Defendant’s Inconsistent Administration of McCurry’s COBRA Benefits

Kenco is self-insured relative to its health and disability insurance.

Kenco controls its Consolidated Omnibus Budget Reconciliation Act

(hereafter “COBRA”) as it does its other benefits.

      Kenco asserted in its MSJ that McCurry named the wrong

Defendant and that she was not discriminated against by Kenco (Docket

#113 page 11 ¶2). Defendants offered no proof by fact or in the record to

support this assertion. Defendants did not properly discharge itself of its

responsibility of a properly supported MSJ. Therefore, Plaintiff was not

obligated to respond.

      McCurry raised issues relative to her COBRA payment being

changed five (5) separate times. McCurry did not receive the paperwork

relative to Defendant's open enrollment. Defendant eventually stated to




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the Department of Labor that Kenco forgot to mail McCurry the

enrollment form (SA-pg. 243).

     COBRA is governed by the Employment Retirement Security Act

(hereafter “ERISA”) and requires strict compliance. McCurry concedes

that human error could occur at any time by anyone. However,

Defendants did not point to any other person who was conveniently

omitted from receiving the open enrollment forms or whose payment

amount kept changing, as McCurry’s did.

     Additionally, McCurry's immediate past job duties and

responsibilities made her very familiar with Defendants’ process and

procedures relative to employees on COBRA. The explanation provided

to McCurry does not reflect what McCurry knows to be the standard

operating procedure for the defendants.

     McCurry asserts that this action was intentional to cause her harm

as Defendant Kenco was aware that McCurry was in need of medical care

as she was on disability due to the hostile work environment and its

related stress that caused her constructive leave of absence. Defendants

were aware of McCurry’s need of medical treatment as Kenco was self-

insured and paying McCurry’s medical bills.

     The successive changes in her premium after open enrollment

contravenes ERISA guidelines. McCurry contends that no other




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employee was subject to changing premium and was denied the

opportunity to choose a plan that fit their needs.

     The numerous and capricious increased premium with a reduction

in coverage coupled with the failure to inform McCurry of these changes

prior to the close of open enrollment in the market place left McCurry

subject to whatever premium defendant would impose upon her and

whatever coverage defendant gave otherwise she would be without the

medical care that she needed. Defendants discriminated and retaliated

against McCurry.

     Defendant made a false and misleading statement to the court in

its MSJ regarding McCurry's COBRA, as McCurry had properly named

the correct defendant. Defendants went on to address McCurry's

disability benefits that were not at issue in this matter by stating that

McCurry's disability benefits had been reduced.

     Another Consistent Inconsistency

     Defendants represented to the district court that Plaintiff's

disability benefits had been reduced; they were reduced to zero in July of

2017 (SA-pg.190). Defendant misrepresented to McCurry that they had

contacted McCurry’s doctor(s) regarding her benefits, when they had not

(SA-pg.175). After great lengths and much perseverance, McCurry

benefits were reinstated. Upon reinstatement, it was determined that

McCurry was underpaid over $73,000 dollars dating back to her first day


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of disability on 1/5/2015. Defendant Kenco intentionally withheld her

benefits and underpaid McCurry.

Tammi Fowler’s Metamorphous

      In Defendants consistent inconsistencies, Tammi Fowler has now

morphed into the V.P. of Human Resources according to Defendants

(Appellee Brief pg. 9 ¶1).

      Contrarily, in November of 2017, Tammi Fowler stated in her

interrogatories that she was the Senior Manager of Employee Relations.

This is evidenced at least as far back as 2013 (Docket #80-8, page 50,

52, 55, 58, 60, 62, & 66, Docket #81-15 page 2, & Docket #81-16 page

7). Fowler, who lived and worked in Chattanooga, Tennessee, continues

to hold herself out as the Senior Manager of Employee Relations on her

LinkedIn page(Docket #119-14).

      In those same interrogatories, Fowler contends that she managed

several Kenco sites (Docket #80-9 pg. 27 #3).

      It has been intimated that Fowler was responsible for investigations

at the Mars Manteno facility in Defendants’ position statement Charge

No. 2015CA1804§ B2.

      Fowler could not have conducted investigations at the Mars

Manteno facility being in Chattanooga, Tennessee.

      Fowler contends in her interrogatories that she followed Defendant

Kenco's policies (Docket #80-9 pg. 28#5& 7).

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      Fowler nor Kenco have produced evidence that supports that she or

Defendant followed Defendant's policies as there is no evidence of

investigations.

      Mario Lopez's stated in his interrogatories that he and Fowler were

responsible for Varvel being hired (Docket #80-9 pg. 39 #3 & pg. 30 #11).

There is an email that suggest that Trace Spier, V. P. of Fast Moving

Consumer Goods Kenco and Todd Moore Senior Manager of Logistics of

Mars were the responsible parties.

      Fowler stated that Defendants were in need of a human resource

person with more experience as McCurry and Szplett were not trained to

perform these duties.

      Contrarily, Fowler trained McCurry and Szplett in May of 2013 on

Kenco's procedures relative to handling employee relations issues

(Docket #83-19 page 2). After training McCurry and Szplett, it is

unreasonable to assert that it took Defendants twenty (20) months or

almost two (2) years to identify a need for a more proficient HR person

and to fill the position.

      It is unreasonable to assert that information regarding claims of

discrimination was not shared with Mars, as Mars underwrote the cost of

hiring Varvel (Docket #120-6). Jay Elliott stated that Varvel was hired

because of all the discrimination charges being filed (SA-pg. 143 §4¶2).




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The Collaboration on Consistent Inconsistency

     Defendants Kenco and Mars contend that Mars had nothing to do

with employment decisions affecting McCurry and others at the Mars

Manteno facility.

     Plaintiff contends that this is a patently false and misleading

statement as McCurry's and others’ offer letters state that it is the

KENCO MARS facility. Lori Varvel's offer letter reflects this contention

(Defendants Exhibit-Docket #113-3 pg., 77).

     As a term and condition of employment, employees were required to

sign the offer letter and return in acceptance of the offer of employment

(SA-pg. 61 ¶b & c).

     The letter was signed off by an executive officer of Kenco on behalf

of Kenco Mars (SA-pg.61¶c).

     Plaintiff also contends that there was a daily collaboration between

Mars, Inc. and the Mars Manteno employees and other management

consisting of discussing personnel issues along with other matters

related to the Mars Manteno facility. Defendant Mars, Inc. provided this

information in its request to produce (DEF002808 cross-reference Docket

#83-30 page 13). For example, Defendants knew Szplett was on

disability due to work related stress (SA-pg., 96).

     Defendant Mars, Inc. also provided other documentation to support

this contention (Docket #83-30 page 5, 9- DEF0001519).

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      Robert Coffey was the operational decision maker (Docket #83-30

page 4, ¶1-Mars Discovery, DEF0001241 & page 5, Mars Discovery

DEF0001579).

Coffey was the Boss

      Coffey issued Performance Improvement Plans to Kenco; he also

corresponded, directed and managed the employees at the Mars Manteno

facility. He also on behalf of Mars along with Todd Moore and others

underwrote the cost of hiring Varvel (SA-pg., 86-119, Docket #83-30,

page 7, DEF00017866 & Docket #120-6, respectively).

Other Matters

      In regards to Defendant Kenco, two policies were referenced

concerning McCurry’s write-up--one that was false/non-existent and the

other that was not effective during the relevant time that the policies

were applied to Plaintiff.

      Plaintiff contends that policy STD HR 1003 was not a policy of

Defendant Kenco’s as listed on Defendant Kenco’s catalogue of company

policies, Appendix F (Docket #119-21) and therefore, was not a legitimate

company policy. Moreover, Defendant Kenco failed to even attach the

aforementioned policy to the MSJ or refer to it in the record.

Plaintiff also reaffirms that policy STD HR 1007 was not effective until

after the alleged incident occurred with Plaintiff. More specifically, the




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effective date of the policy was December 15, 2014 and the alleged

incident occurred with Plaintiff on December 9, 2014.

     Consequently, the policy was not effectuated until after the date of

the incident. Therefore, Plaintiff could not have violated this policy to

warrant any disciplinary action from Defendant Kenco or its agent.

Plaintiff reaffirms that this policy, STD HR 1007 was contrived in

retaliation for her protected activities and applied to her with an unlawful

intent to harass and was used to discriminate against her unlawfully.

As a matter of fact, Defendant Varvel indicated three (3) weeks later that

Defendant Kenco did not have a policy relative to working without

authorization, despite having applied such a policy to Plaintiff regarding

working without authorization (SA-141).

     Additionally, Plaintiff asserts that it is Defendant Kenco’s policy to

have each employee sign off on a log that corresponds to each policy that

becomes a documented record of each employee being trained on a

specific policy (Docket #82-16 page 2-22).

     Plaintiff also asserts that Defendant Varvel created the

“environment” for Plaintiff to be written up when she took away Plaintiff’s

privilege to clock in and out at her own desk and instructed her to clock

in and out and the time clock outside in the warehouse. A time clock

which Defendant Kenco and Varvel knew was faulty (SA-pg. 24#16).




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     No other persons working in the office were subject to this fringe

benefit or privilege being taken away from them (Opening Brief pg. 20

¶1). The Seventh Circuit recognizes systematically better treatment of

non-protected classes as circumstantial evidence of discrimination.

Jones v. National Council of YMCA of US, 48 F. Supp. 3d 1054 (N.D. Ill.

2014) at 1091

     Defendants Kenco, Varvel and others at corporate had access to the

clock and were aware that the time clock malfunctioned. Defendants

waited almost a week after Plaintiff’s alleged mis-punch occurred to use

this mechanical failure to create a scenario for Plaintiff that would result

in disciplinary action against her (Opening Brief pg. 20¶ 1).

     Defendant states in its position statement that Varvel had a sneaky

suspicion that McCurry had worked without authorization that led

Varvel to review video footage of the clock. Administrative proceedings

before the IDHR/EEOC Charge no. 2015CA1804 page 2 ¶2).

     Plaintiff requested to see the alleged video, but her request was

denied. Additionally, to date defendants have not produced any

supporting evidence to substantiate that Plaintiff had not swiped out and

had worked until 6:39 p.m.

     Contrarily, Defendants’ MSJ is the first time that McCurry is

alleged to have been “observed” working.




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      Consequently, the statements made in Defendants MSJ are

conclusory and not supported by fact or law.

“An employer's subjective reason for an employment decision may be

reasonably viewed as a pretext for discrimination.” Simpson v. Beaver

Dam Community Hospitals, Inc., 780 F.3d 784 (7th Cir. 2015)

      Plaintiff again asserts, contends and renews her position that the

policies referenced by defendant Kenco were contrived to violate

Plaintiff’s protected rights in retaliation and in harassment for Plaintiff’s

engagement in protected activities.

      Plaintiff asserts that the write-up was an adverse employment

action according to defendant Kenco’s policy regarding promotions and

that the write-up was also a pretext for defendants’ unlawful actions

against Plaintiff. A write-up is the beginning of Defendants’ progressive

disciplinary policy that leads to termination.

      Another example relates to defendant Kenco’s assertion that

McCurry did not apply for the position of Human Resource Manager.

      Defendant at no time during the course of this litigation has

produced a policy to support that an application for a position is a

requisite to being considered for a position or being promoted to a

position.

      Contrarily, in the matter of Vernon Henry, Defendant produced an

Exempt Hiring policy and a signed job description (SA-pg. 39-63). In the


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same matter Defendant Kenco's V.P. of legal indicated that Tony Willis

did not make an application for the position of Co-Pack Coordinator (SA-

pg. 70 ¶2).

     Tony Willis himself declared that he did not apply for the most

recent position that he held at the Mars Manteno facility (Docket #120).

Defendants Kenco and Mars affirmed that Willis was promoted in the

discovery that Mars tendered to Plaintiff (SA-pg103). This was two (2)

separate positions; at two (2) separate times that Willis was promoted to

a position for which he did not apply to or for as allegedly required by

defendant.

RULE 37 VIOLATIONS

     “Statutory interpretation begins with the plain language of the

statute.” United States v. Ye, 588 F.3d 411, 414 (7th Cir. 2009) (quoting

United States v. Berkos, 543 F.3d 392, 396 (7th Cir. 2008)). This Court

“assumes that the purpose of the statute is communicated by the

ordinary meaning of the words Congress used; therefore, absent any

clear indication of a contrary purpose, the plain language is conclusive.”

United States v. Costello, 666 F.3d 1040 (7th Cir. 2012); Chevron, U.S.A.

v. Natural Resources Def. Council, Inc., 467 U.S. 837, 843 (1984). No

other inquiry is appropriate. Id.

     Accordingly, Federal Rule of Civil Procedure 37 (c) states in relevant

part that:

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              (1) Failure to Disclose or Supplement. If a party fails
                  to provide information or identify a witness as
                  required by Rule 26(a) or (e), the party is not
                  allowed to use that information or witness to
                  supply evidence on a motion, at a hearing, or at a
                  trial, unless the failure was substantially justified
                  or is harmless. (Docket #117)


      It applies both to information not disclosed and to witnesses.

“Rule 26 does not speak of disclosing only documents gained by

“discovery,” it places an obligation to disclose the existence of “all

documents” on which a party intends to rely. The method of acquiring

those documents is not mentioned in Rule 26 at all.” Shott v. Rush

University Medical Center, n.3 No.11C 50253 (N.D. Ill. Jan. 7, 2005)

      The Seventh Circuit, has held that the sanction of exclusion is

mandatory, unless the nondisclosing party can demonstrate substantial

justification for the failure to disclose or can demonstrate that the failure

was harmless. (holding that the exclusion of undisclosed evidence is a

mandatory sanction); Happel v. Walmart Stores, Inc., 602 F.3d 820 (7th

Cir. 2010).

      The party seeking relief from Rule 37(c)’s presumed preclusion

bears the burden of establishing that the failure was substantially

justified or harmless.

      Defendants Kenco and Mars failed to disclose the transcripts of the

depositions it took from McCurry (Docket #s 117, 122, 123&127).



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      Additionally, Plaintiff was only noticed by Defendant Kenco for a

deposition. Defendants counsel, Julia Argenteri threatened McCurry

(Docket #95).

      Ms. Argenteri went so far as to try and intimidate McCurry by

intimating that she had the judge on speed dial and that he (the Judge)

would make her conform to their demands to sit for the deposition,

despite not having noticed her for such.

      McCurry felt coerced and intimated by defendants counsel threats

of sanctions and retribution from counsel contacting the Judge (Docket

#95). McCurry at one point thought that the Defendants' counsel was

going to hold her hostage until she conformed to their demands.

      Mars was attempting to conduct discovery without leave of the

court after the close of discovery. No other Defendant noticed or deposed

McCurry (Docket #s 95, 96 & 106).

      Several weeks after McCurry resisted Defendants counsel(s) threats

and demands; Mars motioned the court to take McCurry's deposition

(Docket #103).

      The district court allowed Defendant Mars, Inc. to piggy back on

Defendant Kenco's notice of deposition in a text order on May 21, 2018.

The district court stated that “there was” authority to support the notice

of one litigant to suffice as notice for all litigants wanting to depose an

opposing party.


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       McCurry asserts that her reading of the FRCP 30 in its simplest

terms indicates that notice was to be made by each party seeking to

oppose an opposing party.

       Plaintiff asserts that Kenco and Mars’ actions of waiting until

discovery was closing or closed to take her deposition and withholding

her deposition were prejudicial. This prejudice caused McCurry an

irreparable harm of having her case dismissed based, as these

Defendants relied upon the undisclosed depositions to support their

MSJ.

       Furthermore, McCurry asserts that the arguments presented by

Defendants regarding its failure to disclose in its Appellee Briefs and to

the motion in limine filed by McCurry (Docket #122 & 123) are in line

with Defendants’ modus operandi.

       McCurry asserts that Defendants have engaged in "gamesmanship"

throughout the course of this litigation beginning at the IDHR/EEOC

through this instant case:

1) That Defendants have impeded and obstructed justice and its

administration. 2) That Defendants have willfully and intentionally made

patently false and misleading statements verbally and in writing to cover

up the various unlawful and discriminatory acts to intentionally escape,

avoid and evade culpability and liability. 3) That Defendants have taken

inconsistent positions in various legal matters before various


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governmental agencies and tribunals to receive a benefit that would

ultimately thwart Plaintiff's and others legitimate claims of

discriminatory treatment. 4) That Defendants have intentionally crafted

and contrived a number of schemes, furthered through the U.S. mail,

that harassed, retaliated, thwarted and violated Plaintiff's and others

protected rights not to be discriminated against and to be free of a hostile

and racially animus charged work environment. 5) That Defendants have

intentionally crafted and contrived a number of schemes, furthered

through various governmental agencies and tribunals, that harassed,

retaliated, thwarted and violated Plaintiff's and others protected rights

not to be discriminated against and to be free of a hostile work

environment charged with racial animus.

     Additionally, Plaintiff asserts that Defendants have not made an

argument at any time that suggests that this failure to disclose was

harmless or not prejudicial to her.

     McCurry asserts that Defendants’ behavior continues to invite

tribunals to support Defendants’ blatant disregard for the prevailing

statutes and contravenes the intent and purpose of the Federal Rules of

Civil Procedure.

     Plaintiff also contends that Defendants’ arguments are in direct

contradiction with seventh circuit precedent regarding a party's failure to




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disclose and the circuit’s posture on deviating from established

precedent.

     More specifically, the circuit has maintained that a "precedent may

not be overturned without “compelling reasons.” United States v. Reyes-

Hernandez, 624 F.3d 405, 412 (7th Cir. 2010). In Haas v. Abrahamson,

910 F.2d 384, 393 (7th Cir. 1990), the court identified two factors to be

used in determining whether there are compelling reasons to overrule a

precedent, noting that "principles of stare decisis require that we give

considerable weight to [prior decisions of this court] unless and until

they have been overruled or undermined by decisions of a higher court,

or other supervening developments, such as statutory overruling'”

(quoting Colby v. J.C. Penney Co., 811 F.2d 1119, 1123 (7th Cir. 1987).

     Defendant Mars contended at one time that McCurry could have

bought a copy just as they did (Opening Brief pg. 92 ¶2).

     The trial Judge’s adverse ruling in Defendants MSJ and motion for

reconsideration on the MSJ suggested that court agreed that Defendants

had discharged themselves of their burden to disclose contrary to the

plain meaning of FRCP 26(a) & (e) and 37(c) (Docket #128).

Raising Issues

     McCurry raised issues relative to Mars, Inc. piggy backing on

Kenco's notice of deposition (Docket #95 &106).




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      McCurry also raised issues relative to Defendants’ failure to

disclose (Docket #117, 122, 123 & 127).

      McCurry also raised issues for clarification, reconsideration,

objection, to compel and to take judicial notice (Dockets 44, 45, 56, 65,

79-82, 95, 96, 100, 101, 106, 107, 108 122, 123 & 127).

      At every opportunity, McCurry objected to and made it known to

the court that the legal counsel of Jackson and Lewis did not serve

Plaintiff with its motion on the protective order, as she has no electronic

record or record of it by the United States Post Office informed delivery.

      Moreover, Mars, Inc. only filed four (5) motions during the course of

the litigation. A 12(b)(6), a motion for sanctions regarding a Rule 26

disclosure, a motion to compel plaintiff's deposition, a motion to extend

time for a dispositive motion and a MSJ. The 12(b)(6) motion sought

reconsideration and the other three (3) were objected to and the last

motion was the MSJ to which Plaintiff responded.

      “Federal Rule of Civil Procedure 54(b) provides that a court may

alter or amend an interlocutory order any time before entry of final

judgment. Moses H. Cone Mem. Hosp. v. Mercury Constr. Corp., 460 U.S.

1, 12 (1983) (‘[E]very order short of a final decree is subject to reopening

at the discretion of the district judge.’).

      Unlike a motion to reconsider a final judgment, which must meet

the requirements of Federal Rules of Civil Procedure 59 or 60, ‘a motion


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to reconsider an interlocutory order may be entertained and granted as

justice requires.’ Akzo Coatings, Inc. v. Aigner Corp., 909 F.Supp. 1154,

1160 (N.D. Ind. 1995).”

     Therefore, McCurry believes that she discharged herself of her

burden to be able to ask the court for review of interlocutory orders.

DEFENDANTS FAILURE TO ADDRESS ISSUES PREVIOUSLY

RAISED BY PLAINTIFF

     McCurry's claims of Spoliation, hostile work environment, and

harassment, were ignored.

     Examples of a hostile work environment. Tom White resigned

effectively immediately after being expected by Kelvin Walsh, the then

General Manager to act with complicity in treating employees like

"assholes." The majority of White's employees were African American.

White had been an employee since the facility opened in 1999 and had

worked there for almost 15 years.

     Upon his resignation he indicated that he had been unjustly

written up for his failure to act in complicity in treating the employee's

like "assholes" and that the work environment was discriminatory (SA-

pg. 128-130).

     Also ignored was the issue McCurry raised about Pete Monstwillo

not being punished for attempting to kill Vernon Henry with a forklift.



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Defendant position statement supports that Monstwillo was not

punished for harassing Henry in Charge No. 2015CA1804 #5 B5.

       Accordingly, Defendants forfeited for summary judgment purposes

and appeal any argument that a reasonable jury could not find for

McCurry on the claims of hostile work environment, spoliation and

harassment.

       Conclusively, Plaintiff contends that she has come forward with

appropriate evidence demonstrating that there are pending disputes of

material fact." Payne v Pauley, 337 F.3d 767 (7th Circuit 2003) at 771

citing Waldridge v. American Hoechst Corp., 24 F.3d 918 (7th Cir. 1994) at

921.

       Additionally, McCurry prays, that after this Honorable Court

reviews this matter de novo applying the standard of summary judgment

that "all reasonable inferences drawn from the underlying facts will be

viewed and resolved in a light most favorable to McCurry (Parkins v. Civil

Constructors of Ill., Inc., 163 F.3d 1027, 1032 (7th Cir.1998)), that this

honorable court will:1) Vacate the district court’s order and find that

Plaintiff's case should be remanded back for trial and; 2) that Defendants

are barred from using undisclosed discovery including Plaintiff’s

deposition according to FRCP 37(c) and; 3) that the failure to disclose

under Rule 26 (e) was prejudicial to plaintiff and; 4) that the protective

orders be reversed and; 5) that the motions in limine be ruled on and; 6)

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that judicial notice be taken of Defendants inconsistent positions taken

at various governmental agencies, tribunals and with this court and; 7)

that defendants have intentionally made materially false and misleading

statements and; 8) that Defendants have intentionally provided false and

misleading documentation throughout the administration of justice and;

9) that Defendants actions of providing false and misleading information

and documents has been obstructive to the administration of justice and;

10) that Defendants acted in “bad faith” and any other relief that this

court deems appropriate under the circumstances.



Respectfully Submitted:           Edith McCurry




                                  By/s/_____________________
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             CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATION,
              TYPEFACE REQUIREMENTS, AND TYPE STYLE REQUIREMENTS



       1.     This brief complies with the type-volume limitation of FED. R. APP. P.
32(a)(7)(B) because it contains 6,996 words, excluding the parts of the brief exempted
from FED. R. APP. P. 32(a)(7)(B)(iii), determined by using the word count feature on
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32(a)(5) and the type style requirements of FED. R. APP. P. 32(a)(6) because it has been
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font for the text, using Bookman Old Style, Georgia, Microsoft Sans Serif, Times Roman
and Century Schoolbook throughout.


      Dated: March 15, 2019


                                                 Jordan TraVaille Hoffman, P.C.


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                                                 Plaintiff-Appellant-Edith McCurry
                                                 Case No. 18-3260




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                           CERTIFICATE OF SERVICE

The undersigned attorney, hereby certifies that on March 15, 2019, I submitted a copy of

the Plaintiff’s-Appellant Reply Brief with the UNITED STATES COURT OF APPEALS

FOR THE SEVENTH CIRCUIT in the foregoing matter of Case No. 18-3206 and have

served the persons identified on the docket's service list through Notice of Electronic

Filing generated by the Court’s CM/ECF system:



                                             /s/___________________


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